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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                                               CASE NO.:
 HOWARD COHAN,

        Plaintiff,

 vs.                                                           INJUNCTIVE RELIEF SOUGHT


 SYNERGETIC REAL ESTATE OF FLORIDA, LLC
 a Florida Limited Liability Company
 d/b/a SOUTH SEAS HOTEL

       Defendant(s).
 ____________________________________/

                                           COMPLAINT

        Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,

 hereby files this Complaint and sues SYNERGETIC REAL ESTATE OF FLORIDA, LLC, a

 Florida Limited Liability Company, d/b/a SOUTH SEAS HOTEL (“Defendant”), for declaratory

 and injunctive relief, attorneys’ fees, expenses and costs (including, but not limited to, court costs

 and expert fees) pursuant to 42 U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities

 Act (“ADA”) and alleges as follows:

                                  JURISDICTION AND VENUE

        1.      This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

 §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

 Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the

 2010 ADA Standards.
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         2.      Venue is proper in this Court, Miami Division, pursuant to 28 U.S.C. § 1391(B)

 and Internal Operating Procedures for the United States District Court For the Southern District of

 Florida in that all events giving rise to the lawsuit occurred in Dade County, Florida.

                                                 PARTIES

         3.      Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida

 residing in Palm Beach County, Florida.

         4.      Upon information and belief, Defendant is the lessee, operator, owner and lessor of

 the Real Property, which is subject to this suit, and is located at 1751 Collins Ave, Miami Beach,

 FL 33139, (“Premises”), and is the owner of the improvements where Premises is located.

         5.      Defendant is authorized to conduct, and is in fact conducting, business within the

 state of Florida.

         6.      Plaintiff is an individual with numerous permanent disabilities including severe

 spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

 spine with nerve root compromise on the right side; a non-union fracture of the left acromion

 (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

 knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

 basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms cause

 sudden onsets of severe pain and substantially limit Plaintiff’s major life activities. At the time of

 Plaintiff’s visit to the Premises on July 26, 2016, May 1, 2017 and April 2, 2019, (and prior to

 instituting this action), Plaintiff suffered from a “qualified disability” under the ADA, and required

 the use of fully accessible service and eating areas, fully accessible paths of travel throughout the

 facility, and fully accessible restrooms. Plaintiff personally visited the Premises, but was denied
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 full and equal access and full and equal enjoyment of the facilities and amenities within the

 Premises, even though he would be classified as a “bona fide patron”.

        7.      Plaintiff, in his individual capacity, will absolutely return to the Premises and avail

 himself of the services offered when Defendant modifies the Premises or modifies the policies and

 practices to accommodate individuals who have physical disabilities.

        8.      Plaintiff is continuously aware of the violations at Defendant's Premises and is

 aware that it would be a futile gesture to return to the Premises as long as those violations exist,

 and Plaintiff is not willing to suffer additional discrimination.

        9.      Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

 result of Defendant's discrimination until Defendant is compelled to comply with the requirements

 of the ADA.

        10.     Plaintiff would like to be able to be a patron of the Premises in the future and be

 able to enjoy the goods and services that are available to the able-bodied public, but is currently

 precluded from doing so as a result of Defendant's discriminatory conduct as described herein.

 Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

 at the Premises to eliminate the discrimination against persons with physical disabilities.

        11.     Completely independent of the personal desire to have access to this place of public

 accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of

 discovering, encountering and engaging discrimination against the disabled in public

 accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

 personally visits the public accommodation; engages all of the barriers to access, or at least of

 those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

 the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such
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 discrimination; and subsequently returns to Premises to verify its compliance or non-compliance

 with the ADA and to otherwise use the public accommodation as members of the able-bodied

 community are able to do. Independent of other subsequent visits, Plaintiff also intends to visit

 the Premises regularly to verify its compliance or non-compliance with the ADA, and its

 maintenance of the accessible features of Premises. In this instance, Plaintiff, in Plaintiff’s

 individual capacity and as a “tester”, visited Premises, encountered barriers to access at Premises,

 and engaged and tested those barriers, suffered legal harm and legal injury, and will continue to

 suffer such harm and injury as a result of the illegal barriers to access and the ADA violations set

 forth herein. It is Plaintiff’s belief that said violations will not be corrected without Court

 intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

        12.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

 Defendant modifies the Premises or modifies the policies and practices to accommodate

 individuals who have physical disabilities to confirm said modifications have been completed in

 accordance with the requirements of the ADA.

               VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

        13.     Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 12

 above as if fully stated herein.

        14.     On July 26, 1990, Congress enacted the Americans With Disabilities Act (“ADA”),

 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5) years from

 enactment of the statute to implement its requirements. The effective date of Title III of the ADA

 was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer employees and

 gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

        15.     Congress found, among other things, that:
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              a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                 this number shall increase as the population continues to grow older;

              b. historically, society has tended to isolate and segregate individuals with disabilities

                 and, despite some improvements, such forms of discrimination against disabled

                 individuals continue to be a pervasive social problem, requiring serious attention;

              c. discrimination against disabled individuals persists in such critical areas as

                 employment, housing, public accommodations, transportation, communication,

                 recreation, institutionalization, health services, voting and access to public services

                 and public facilities;

              d. individuals with disabilities continually suffer forms of discrimination, including

                 outright intentional exclusion, the discriminatory effects of architectural,

                 transportation, and communication barriers, failure to make modifications to

                 existing facilities and practices. Exclusionary qualification standards and criteria,

                 segregation, and regulation to lesser services, programs, benefits, or other

                 opportunities; and,

              e. the continuing existence of unfair and unnecessary discrimination and prejudice

                 denies people with disabilities the opportunity to compete on an equal basis and to

                 pursue those opportunities for which our country is justifiably famous, and accosts

                 the United States billions of dollars in unnecessary expenses resulting from

                 dependency and non-productivity.

 42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

        16.      Congress explicitly stated that the purpose of the ADA was to:
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               a. provide a clear and comprehensive national mandate for elimination of

                  discrimination against individuals with disabilities;

               b. provide clear, strong, consistent, enforceable standards addressing discrimination

                  against individuals with disabilities; and

               c. invoke the sweep of congressional authority, including the power to enforce the

                  fourteenth amendment and to regulate commerce, in order to address the major

                  areas of discrimination faced on a daily basis by people with disabilities.

 U.S.C. § 12101(b)(1)(2) and (4).

         17.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA Standards,

 Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it

 provides services to the general public and must be in compliance therewith.

         18.      Defendant has discriminated and continues to discriminate against Plaintiff and

 others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

 services, facilities, privileges, advantages and/or accommodations located at the Premises, as

 prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

 architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

         19.      Plaintiff has visited Premises, and has been denied full and safe equal access to the

 facilities and therefore suffered an injury in fact.

         20.      Plaintiff would like to return and enjoy the goods and/or services at Premises on a

 spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

 Defendant’s failure and refusal to provide disabled persons with full and equal access to their

 facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

 architectural barriers that are in violation of the ADA.
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         21.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

 of Justice, Officer of the Attorney General promulgated Federal Regulations to implement the

 requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA Standards ADA

 Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36, under which said

 Department may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00

 for and subsequent violation.

         22.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

 U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

 discriminating against Plaintiff as a result of, inter alia, the following specific violations:

         Hotel Reception

               a. Providing counter heights exceeding 36 inches making it impossible to service a

                  person with a disability in violation of 2010 ADAAG §§ 904, 904.4, 904.4.1,

                  904.4.2, 305 and 306.

         Hotel Restroom rear - listed as accessible (general)

               b. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                  exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

                  404, 404.1, 404.2, 404.2.9 and 309.4.

               c. Providing a swinging door or gate with improper maneuvering clearance(s) due to

                  a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1, 404.2,

                  404.2.4 and 404.2.4.1.

               d. Failure to provide mirror(s) located above lavatories or countertops at the proper

                  height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.
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          e. Failure to provide proper signage for an accessible restroom or failure to redirect a

             person with a disability to the closest available accessible restroom facility in

             violation of 2010 ADAAG §§ 216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

             703.5 and 703.7.2.1.

          f. Failure to provide the correct spacing for a forward or parallel approach to an

             element due to a wall or some other obstruction in violation of 2010 ADAAG §§

             305 and 306.

       Hotel Restroom rear Accessible Stall

          g. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

             exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

             404, 404.1, 404.2, 404.2.9 and 309.4.

          h. Failure to provide sufficient clear floor space around a water closet without any

             obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

             603.2.3, 604, 604.3 and 604.3.1.

          i. Failure to provide grab bar(s) in violation of 2010 ADAAG §§ 604, 604.5, 609,

             609.4, 609.1 and 609.3.

          j. Providing grab bars of improper horizontal length or spacing as required along the

             rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

          k. Failure to provide the proper spacing between a grab bar and an object projecting

             out of the wall in violation of 2010 ADAAG §§ 609, 609.1 and 609.3.

          l. Failure to provide toilet paper dispensers in the proper position in front of the water

             closet or at the correct height above the finished floor in violation of 2010 ADAAG

             §§ 604, 604.7 and 309.4.
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          m. Failure to provide a coat hook within the proper reach ranges for a person with a

             disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.

          n. Failure to provide toilet cover dispenser at the correct height above the finished

             floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

       Bar Area Inside Hotel

          o. Providing counter heights exceeding 36 inches making it impossible to service a

             person with a disability in violation of 2010 ADAAG §§ 904, 904.4, 904.4.1,

             904.4.2, 305 and 306.

          p. Failure to provide accessible seating for person(s) with a disability at a bar or

             adjacent table in the bar area, recreational area or a table area adjacent to a pool for

             food or beverage service, or at a computer work surface such as in a business center,

             in violation of 2010 ADAAG §§ 902, 902.1, 902.2, 902.3, 305, 306 and/or §4.32.4

             of the 1991 ADA Standards.

          q. Failure to provide seating for a person(s) with a disability that has the correct clear

             floor space for forward approach in violation of 2010 ADAAG §§ 902, 902.2, 305

             and 306.

          r. Failure to provide a sufficient amount of seating when dining surfaces are provided

             for the consumption of food or drink for a person(s) with a disability in violation of

             2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

       Restaurant/Seating Area Outside and near Pool

          s. Failure to provide seating for a person(s) with a disability that has the correct clear

             floor space for forward approach in violation of 2010 ADAAG §§ 902, 902.2, 305

             and 306.
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                  t. Failure to provide a sufficient amount of seating when dining surfaces are provided

                     for the consumption of food or drink for a person(s) with a disability in violation of

                     2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

            Accessible Route to Hotel Reception and Pool

                  u. Providing pathways and surfaces that are uneven in violation of 2010 ADAAG §§

                     206, 206.1, 206.2, 206.2.2, 303 and 403.4.

                  v. Failure to provide bilateral handrails on a ramp that has a rise greater than 6 inches

                     or in a horizontal projection greater than 72 inches in violation of 2010 ADAAG

                     §§ 405, 405.1, 405.8, 505 and/or §4.8.5 of the 1991 ADA Standards.

            23.      To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

  the specific violations set forth in paragraph 22 herein.

            24.      Pursuant to a prior settlement agreement between a prior owner, prior to filing suit,

  Plaintiff provided the required written notice of the specific violations set forth in paragraph 22

  herein.

            25.      To date, the readily achievable barriers and other violations of the ADA still exist

  and have not been remedied or altered in such a way as to effectuate compliance with the

  provisions of the ADA.

            26.      As the owner, lessor, lessee or operator of the Premises, Defendant is required to

  comply with the ADA. To the extent the Premises, or portions thereof, existed and were occupied

  prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing

  obligation to remove architectural barriers at the Premises where removal was readily achievable,

  as required by 28 C.F.R. §36.402.
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         27.      To the extent the Premises, or portions thereof, were constructed for occupancy

  after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation

  to design and construct such Premises such that it is readily accessible to and usable by individuals

  with disabilities, as required by 28 C.F.R. §36.401.

         28.      Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

  Defendant, pursuant to 42 U.S.C. § 12205.

         29.      All of the above violations are readily achievable to modify in order to bring

  Premises or the Facility/Property into compliance with the ADA.

         30.      In instance(s) where the 2010 ADAAG standard does not apply, the 1991 ADAAG

  standard applies and all of the violations listed in paragraph 22 herein can be applied to the 1991

  ADAAG standards.

         31.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

  Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA and

  closing the Subject Facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

  injunctive and declaratory relief:

               1. That this Court declares that Premises owned, operated and/or controlled by
                  Defendant is in violation of the ADA;
               2. That this Court enter an Order requiring Defendant to alter their facilities to make
                  them accessible to and usable by individuals with disabilities to the full extent
                  required by Title III of the ADA;
               3. That this Court enter an Order directing the Defendant to evaluate and neutralize
                  their policies, practices and procedures toward persons with disabilities, for such
                  reasonable time so as to allow the Defendant to undertake and complete corrective
                  procedures to Premises;
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           4. That this Court award reasonable attorney’s fees, all costs (including, but not
              limited to the court costs and expert fees) and other expenses of suit to the Plaintiff;
              and,
           5. That this Court award such other and further relief as it may deem necessary, just
              and proper.

        Dated June 21, 2019.

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